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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

     ACKERMAN MCQUEEN, INC.,                 §
                                             §
            Plaintiff,                       §
                                             §
     v.                                      §   Civil Action No. 3:19-CV-03016-X
                                             §
     GRANT STINCHFIELD,                      §
                                             §
            Defendant.                       §


                                PROTECTIVE ORDER

          Ackerman filed a Motion for Protective Order [Doc. No. 11].      The Court

GRANTS motion and added its own language, regarding filing under seal, into

section 5.

1.        PURPOSES AND SCOPE

          1.1   Disclosure and discovery activity in this Action are likely to involve

production of confidential, proprietary, or private information for which special

protection from public disclosure and from use for any purpose other than prosecuting

this Action (as defined below) may be warranted. Accordingly, the Parties hereby

stipulate to and petition the Court to enter the following Stipulated Protective Order

(the “Order”).

          1.2   The purpose of this Order is to facilitate the production of discovery

material, facilitate the prompt resolution of disputes over confidentiality and

privilege, protect material to be kept confidential and/or privileged, and ensure that

protection is afforded only to material entitled to such treatment, pursuant to the



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Court’s inherent authority, its authority under the applicable Rules, the judicial

opinions interpreting such Rules, and any other applicable law. Except as otherwise

stated in this Order, a Party shall produce, in response to a valid discovery request,

otherwise discoverable information in its possession, custody or control that is

Confidential or Highly Confidential, and such information shall be handled in

accordance with the procedures set forth herein.

        1.3   This Order and all subsequent Protective Orders shall be binding on all

Parties and their counsel in the above-captioned litigation and any other persons or

entities who become bound by this Order.

        1.4   The Parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it

affords from public disclosure and use extends only to the limited information or

items that are entitled to confidential treatment under the applicable legal principles.

The Parties further acknowledge, as set forth in Section 12.3 below, that this Order

does not entitle them to file confidential information under seal.

2.      DEFINITIONS

        The following definitions apply for purposes of this Order:

        2.1   Action: The lawsuit captioned above, Ackerman McQueen, Inc. v. Grant

Stinchfield, Civil Action No. 3:19-cv-03016-X, pending in the United States District

Court for the Northern District of Texas.

        2.2   Challenging Party:      A Party or Non-Party that challenges the

designation of information or items under this Order.




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      2.3      Confidential Information: Discovery Material (regardless of how it is

generated, stored, or maintained) or tangible things that qualify for protection under

the Federal Rules of Civil Procedure and applicable precedent.

      2.4      Counsel:   Outside Counsel of Record, In-House Counsel, or counsel

retained for the purpose of advising, prosecuting, defending, or attempting to settle

this Action.

      2.5      Designating Party: A Party or Non-Party that designates documents,

information or items that it produces in disclosures or in responses to discovery as

“CONFIDENTIAL” or “PRIVILEGED” or “HIGHLY CONFIDENTIAL.”

      2.6      Discovery Material: All items or information, regardless of the medium

or manner in which it is generated, stored, or maintained (including, among other

things, testimony, transcripts, answers to interrogatories, documents, responses to

requests for admissions, tangible things, and informal exchanges of information),

that are produced or generated in connection with any discovery in this Action,

whether formally or informally.

      2.7      Expert: A person retained by a Party or its Counsel to serve as an expert

witness or consultant or technical advisor in this Action (as well as his or her

employees and support staff).

      2.8      Highly Confidential Information: Discovery Material that meets the

definition of “Confidential Information” and which the Designating Party reasonably

believes to be information reflecting non-public technical research, pricing and

business strategy documents concerning a particular product or service, financial




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statements reflecting sales data, margin data, cost and expense data, human

resources or personnel files, and/or profit and loss data, sales information relating to

specific customers or classes of customers, non-public research, provided that the

nonpublic information is actually secret because it is neither known to, nor readily

ascertainable by, another person or entity that can obtain economic value from the

disclosure or use of such information, the Designating Party has taken reasonable

measures to maintain the secrecy of that information and the Designating Party

derives independent economic value and a competitive advantage from the secrecy of

that information, including, as the case may be, containing information where

production of the materials on a confidential or non-confidential basis would

nonetheless likely cause substantial harm. Nothing herein precludes any Party from

seeking additional protections not currently contemplated by this Order to be applied

to any particular document or category of documents, including Highly Confidential

Information.

      2.9      In-House Counsel: Attorneys who are employees of a Party to this

Action. In House Counsel does not include Outside Counsel of Record or any other

outside counsel.

      2.10 Non-Party: Any natural person, partnership, corporation, association,

or other legal entity not named as a Party to this Action, and their counsel.

      2.11 Outside Counsel of Record: Attorneys who are not employees of a Party

to this Action, but have been retained to represent or advise a Party to this Action




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and have appeared in this Action on behalf of that Party or are affiliated with a law

firm that has appeared on behalf of that Party.

       2.12 Party: Any party to this Action.

       2.13 Privileged Material:      Discovery Material protected from disclosure

under the attorney-client privilege, work product doctrine, or any other privilege,

immunity, or protection afforded or recognized by the Rules, including any such

privilege or protection under applicable U.S. or foreign law, regulation or statute.

       2.14 Producing Party:       A Party or Non-Party that produces Discovery

Material in this Action.

       2.15 Professional Vendors: Persons or entities that provide litigation support

services (e.g., photocopying, videotaping, graphic support services, coding,

translating, preparing exhibits or demonstrations, document review, and organizing,

storing, or retrieving data in any form or medium) and their employees and

subcontractors.

       2.16 Protected Material:      Any Discovery Material that is designated as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

       2.17 Receiving Party:      A Party that receives Discovery Material from a

Producing Party.

       2.18 Virginia Action: The consolidated lawsuits captioned National Rifle

Association of America v. Ackerman McQueen, Inc., et al., Case Nos. CL19002067,

CL19001757, and CL19002886, pending before the Circuit Court for the City of

Alexandria, Virginia.




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3.      SCOPE

        3.1   The protections conferred by this Order apply to Protected Material (as

defined above) and also (1) any information copied or extracted from Protected

Material; (2) all copies, excerpts, summaries, translations, or compilations of

Protected Material; and (3) any oral, written, or electronic communications,

testimony or presentations, including for purposes of settlement, by Parties or their

Counsel that might reveal Protected Material. However, the protections conferred by

this Order do not cover information that is in the public domain at the time of

disclosure to a Receiving Party or becomes part of the public domain after its

disclosure to a Receiving Party as a result of publication not involving a violation of

this Order.

        3.2   This Order and its protections apply for pre-trial purposes only. The

Parties will meet and confer at the appropriate time regarding any use of Protected

Material at trial, which use shall be governed by a separate agreement or order.

4.      DURATION

        4.1   Even after final disposition of this Action, the confidentiality obligations

imposed by this Order shall remain in effect until a Designating Party agrees

otherwise in writing or a court order otherwise directs. Final disposition shall be

deemed to be the later of (1) dismissal of all claims and defenses in this action, with

or without prejudice; or (2) final judgment herein after the completion and exhaustion

of all appeals, rehearings, remands, trials, or reviews of this action, including the




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time limits for filing any motions or applications for extension of time pursuant to

applicable law.

5.         FILING UNDER SEAL


     5.1         As explained in the Scheduling Order [Doc. No. 9] the Court generally

     discourages requests for filing motions and exhibits under seal. The parties may

     agree between themselves to designate documents “confidential” during discovery.

     The typical standard there involves the parties assessing whether they want that

     material in the public domain. But filing that material with the Court under seal

     is a different matter altogether. Court proceedings are, by and large, public

     matters (and rightfully so given that tax dollars fund the courts and we have this

     wonderful protection called the First Amendment). 1

           Here, the Parties’ agreement takes the form of this protective order. Federal

Rule of Civil Procedure 26(c) permits the Court to issue a protective order “for good

cause.” To assist the parties in showing good cause here, the Court adds the following

requirements that complement the sealing practices of this Circuit. A party seeking

to file a specific document under seal must move for leave to do so and: (1) brief the

legal authorities indicating the risks of disclosure outweigh the public’s right to know,



          See United States v. Holy Land Found. For Relief & Dev., 624 F.3d 685, 690 (5th Cir. 2010)
           1

(“Public confidence [in our judicial system] cannot long be maintained where important judicial
decisions are made behind closed doors and then announced in conclusive terms to the public, with the
record supporting the court’s decision sealed from public view.” (quotation marks omitted) (alteration
in original)); SEC v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993) (“Public access [to judicial
records] serves to promote trustworthiness of the judicial process, to curb judicial abuses, and to
provide the public with a more complete understanding of the judicial system, including a better
perception of its fairness.” (quotation marks omitted) (alteration in original)). See also Brown &
Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1177 (6th Cir. 1983) (the First Amendment and
the common law limit the court’s discretion to seal records).



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and (2) explain that no other viable alternative to sealing exists. 2 Further, all facts

recited in any such motion must be verified by the oath or declaration of a person or

persons with personal knowledge, which will assist the Court in making fact findings

that can withstand appellate scrutiny. 3

        If any party wishes to submit Confidential Information to the court, the

submission must be filed only in a motion to file under seal on CM/ECF if filed

electronically or, if filed in hard copy, in a sealed envelope bearing the caption of this

action and a notice in the following form:


                             CONFIDENTIAL INFORMATION
                                              [caption]
       This envelope, which is being filed in a motion to file under seal,
 contains documents that are subject to a Protective Order governing the
                use of confidential discovery material.

                                           No Prejudice.




        2 See Planned Parenthood of Greater Tex. Family Planning & Preventative Health Servs., Inc.
v. Kaufman, No. 17-50534, Doc. 00514098372, at 2 (5th Cir. Aug. 1, 2017) (“This court disfavors the
sealing of briefs or portions of the record where the parties on appeal have not articulated a legal basis
for the sealing.”). The Fifth Circuit has “repeatedly required parties to justify keeping materials under
seal.” Id.; see, e.g., Claimant ID 100236236 v. BP Exploration & Prod’n, Inc., No. 16-30521 (5th Cir.
Jan. 31, 2017) (requesting letter briefs sua sponte as to whether appeal should remain under seal and
entering order unsealing appeal); United States v. Quintanilla, No.16-50677 (5th Cir. Nov. 16, 2016)
(order authorizing briefs and record excerpts to be filed under seal on condition that the parties filed
redacted briefs and record excerpts on the public docket). Also, the parties should note that a showing
that disclosure of the information sought to be sealed would harm a party’s reputation or its business
is not sufficient to overcome the strong common law presumption in favor of public access. Brown, 710
F.2d at 1180.
        3See United States v. Edwards, 823 F.2d 111, 119 (5th Cir. 1987) (if closure of a presumptively
open proceeding is to withstand a First Amendment challenge, the court must make specific fact
findings that substantial probability exists that an interest of a higher value will be prejudiced and
that no reasonable alternatives will adequately protect that interest).



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6.      DESIGNATING PROTECTED MATERIAL

        5.1    Manner and Timing of Designations. Except as otherwise provided in

this Order (see, e.g., Section 5.2.4 below), or as otherwise stipulated or ordered,

Discovery Material that qualifies for protection under this Order must be clearly so

designated at the time the material is disclosed or produced. The Parties shall make

Confidential and Highly Confidential designations in good faith to ensure that only

those documents or testimony that merit Confidential or Highly Confidential

treatment are so designated.      Either designation may be withdrawn by the

Designating Party. If it comes to a Designating Party’s attention that information or

items that it designated for protection do not qualify for protection, the Designating

Party must promptly notify all other Parties that it is withdrawing the mistaken

designation.




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      5.2      Designation in conformity with this Order requires the following:

               5.2.1    Marking. All or any part of a document, discovery response, or

pleading disclosed, produced, or filed by a Producing Party may be designated

Confidential    or     Highly   Confidential   by   marking   the   appropriate    legend

(“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”) on the face of the document and

each page so designated. With respect to tangible items, the appropriate legend shall

be marked on the face of the tangible item, if practicable, or by written notice to the

Receiving Party at the time of disclosure, production, or filing that such tangible item

is Confidential or Highly Confidential or contains such information. With respect to

documents produced in native format, the Electronically Stored Information Protocol,

or ESI Protocol, to be entered in this Action shall govern the form and method for

marking such documents as Confidential or Highly Confidential.

               5.2.2    A Receiving Party shall exercise good faith efforts to ensure that

any copies, print-outs of natively produced documents or data, excerpts, summaries,

or compilations include a confidentiality legend that matches the confidentiality

designation the Designating Party applied to the document, discovery response,

transcript, or pleading.

               5.2.3    Timing. Except as otherwise provided herein, documents and

other objects must be designated before disclosure or production. In the event that a

Producing Party designates some or all of a witness’s deposition or other pre-trial

testimony (or related exhibits) Confidential or Highly Confidential, such designation

may be made on the record of the deposition or hearing or within thirty (30) calendar




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days after receipt of the final transcript of such deposition or hearing. The specific

page and line designations over which confidentiality is claimed must be provided to

counsel for the Parties within thirty (30) calendar days of receipt of the transcript in

final form from the court reporter except counsel may agree to extend such period.

Deposition or pre-trial testimony shall be treated as Highly Confidential pending the

deadline or, if applicable, extended deadline for designation. After the expiration of

that period, the transcript shall be treated only as actually designated.

             5.2.4    For information produced in some form other than documentary

and for any other tangible items, the Producing Party shall affix in a prominent place

on the exterior of the container or containers in which the information or item is

stored the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”                       If the

Protected Material is produced in an electronic form with a load file, the Designating

Party shall note that there is Protected Material in the load file. If only a portion or

portions of the information or item warrant protection, the Producing Party, to the

extent practicable, shall identify the protected portion(s).

             5.2.5    Inadvertent Failures to Designate. Accidental or inadvertent

disclosure of Protected Material—including Protected Material inadvertently

disclosed by failure to redact as set forth in Section 11—does not waive the

confidential status of such information or any privilege or other protection attached

thereto. In the event that Protected Material is inadvertently disclosed without

appropriate designations, any Party or Non-Party may thereafter reasonably assert

a claim or designation of confidentiality, and the Producing Party shall promptly




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provide replacement media. Thereafter, the Receiving Party must promptly return

the original information and all copies of the same to the Producing Party, or destroy

the original information and all copies, and make no use of such information. In the

event that Protected Material is inadvertently disclosed to any person and such

disclosure is not permitted by the terms of this Order, the Party making the

inadvertent disclosure shall promptly notify the Producing Party of such inadvertent

disclosure within ten (10) calendar days of learning of it and will make all reasonable

efforts to ensure the original and all copies of inadvertently disclosed information are

not used and are promptly returned or destroyed.

7.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

         6.1   Timing of Challenges. A challenge to a designation of confidentiality

may be made at any time. Unless a prompt challenge to a Designating Party’s

confidentiality designation is necessary to avoid foreseeable, substantial unfairness,

unnecessary economic burdens, or a significant disruption or delay of the litigation,

a Party does not waive its right to challenge a confidentiality designation by electing

not to mount it a challenge promptly after the confidentiality designation is made.

         6.2   Form of Challenge. The Challenging Party shall object to the propriety

of the designation of specific material as Confidential or Highly Confidential by

providing written notice to the Designating Party of each designation it is challenging

and describing the basis for each challenge. To avoid ambiguity as to whether a

challenge has been made, the written notice must recite that the challenge to

confidentiality is being made in accordance with this specific Section of this Order.




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The Designating Party or its counsel shall thereafter, within fourteen (14) calendar

days, respond to such challenge in writing by either: (i) agreeing to remove the

designation; or (ii) stating the reasons for such designation. Counsel may agree to

reasonable extensions.

      6.3    Meet and Confer. If the Challenging Party continues to dispute the

designation(s) at issue, it shall notify the Designating Party in writing within seven

(7) calendar days thereafter. Counsel may agree to reasonable extensions.          The

Parties shall attempt to resolve each challenge in good faith by conferring directly (in

voice-to-voice dialogue; other forms of communication are not sufficient).            A

Challenging Party may proceed to the next stage of the challenge process only if it

has engaged in this meet-and confer process first or establishes that the Designating

Party is unwilling to participate in the meet-and-confer process in a timely manner.

      6.4    Judicial Intervention. If the Parties cannot resolve a challenge without

court intervention, the Challenging Party may move the Court for an order

withdrawing the designation as to the specific designations on which the Challenging

Party and the Designating. Party could not agree, within fourteen (14) calendar days

of the Parties agreeing that the meet-and-confer process will not resolve their dispute.

Each such motion must be accompanied by a competent declaration affirming that

the movant has complied with the meet-and-confer requirements imposed in the

preceding Section.

      6.5    The burden of persuasion in any such challenge proceeding shall be on

the Designating Party. While a challenge is pending, all Parties shall continue to




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afford the material in question the level of protection to which it is entitled under the

Designating Party’s designation until the Court orders otherwise.

         6.6   If a Designating Party or the Court identifies or determines that

material that had been designated as Protected Material should no longer be so

designated, that material will no longer be subject to the restrictions designated

herein for the treatment of Protected.

8.       ACCESS TO AND USE OF PROTECTED MATERIAL

         7.1   Basic Principles. A Receiving Party may use Protected Material that is

disclosed or produced by another Party or by a Non-Party in this Action only for

prosecuting, defending, or attempting to settle this Action, including any appeal(s),

so long as such use is permitted herein. In addition, the parties may use in the

Virginia Action any Protected Material that is disclosed or produced in this Action,

which shall receive the same protections as set forth in this Order absent a court

order otherwise. Subject to the foregoing, Protected Material may be disclosed only to

the categories of persons and under the conditions described in this Order. After the

final disposition of the Action, a Receiving Party must comply with the provisions of

Section 13 below (FINAL DISPOSITION). Protected Material must be stored and

maintained by a Receiving Party at a location and in a secure manner that ensures

that access is limited to the persons authorized under this Order.

               7.1.1   Except as otherwise provided in this Order, Counsel in this

Action and any of their agents shall be prohibited from sharing with anybody any

Protected Material, or any information derived from or based on any Protected




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Material, in connection with any investigation, proceeding, or contemplated

proceeding.

      7.2     Restrictions on Use of Confidential Information.      Unless otherwise

ordered by the Court, permitted in writing by the Designating Party, or used in the

Virginia Action, a Receiving Party may disclose any information or item designated

“CONFIDENTIAL” only to:

              7.2.1   the Receiving Party’s Counsel (including their employees and

support staff);

              7.2.2   the officers, directors, and employees of the Receiving Party to

whom disclosure is reasonably necessary for this Action;

              7.2.3   experts retained by the Receiving Party or the Receiving Party’s

Counsel to whom disclosure is reasonably necessary for this Action;

              7.2.4   the Court and its personnel, and any appellate court or other

court (and their personnel) before which the Parties appear in this Action;

              7.2.5   special masters or discovery referees appointed by the Court;

              7.2.6   mediators and their staff;

              7.2.7   court reporters and their staff, professional jury or trial

consultants, mock jurors, and Professional Vendors to whom disclosure is reasonably

necessary for this Action;

              7.2.8   potential or actual witnesses in the Action to whom disclosure

is reasonably necessary, unless otherwise agreed by the Designating Party or ordered

by the Court;




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               7.2.9   the author or recipient of a document containing the

information or a custodian or other person who otherwise possessed or knew the

information; and

               7.2.10 any other person to whom the Designating Party, in writing,

authorizes disclosure.

               7.2.11 Any person or entity who receives information designated

CONFIDENTIAL pursuant to this Protective Order shall (1) agree to be bound by the

terms of this Protective Order and (2) execute the document attached hereto as

Exhibit “l.”

       7.3 Restrictions on Use of Highly Confidential Information.

       Unless otherwise provided for herein, information designated Highly

Confidential by either party shall not be disclosed. However, notwithstanding the

above, information designated in good faith as “HIGHLY CONFIDENTIAL” may be

disclosed to counsel of record for AMc and Stinchfield and each of their respective

employees or representatives who (1) agree to be bound by the terms of this Protective

Order and (2) execute the document attached hereto as Exhibit “1”; provided,

however, that such any representative shall not discuss, disclose, summarize,

describe, characterize, or otherwise communicate or make available such information

to any person or entity prohibited by this Protective Order from accessing HIGHLY

CONFIDENTIAL information and/or documents. Similarly, information designated

HIGHLY CONFIDENTIAL may be shared with experts and Court personnel,

provided that the disclosing party obtains written assurance that such experts will




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protect the confidentiality of the information and that the Court personnel will keep

such information under seal.

         Notwithstanding anything herein to the contrary, HIGHLY CONFIDENTIAL

information may not be disclosed or disseminated to William A. Brewer, III or to

personnel within Brewer, Attorneys and Counselors who are members of the Public

Relations Unit of the firm, including Travis Carter, Andrea Burnett, Katherine

Unmuth, Holly Heidemanns, and Lea Gamino-Blum, unless and until relief is

obtained from the Court.

9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
        IN OTHER LITIGATION

         8.1   If a Party is served with a subpoena or a court order issued in other

litigation that compels disclosure of any Protected Material, that Party must:

               8.1.1   promptly notify in writing the Designating Party unless

prohibited by law from doing so.       Such notification shall include a copy of the

subpoena or court order;

               8.1.2   promptly notify in writing the party who caused the subpoena

or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is subject to this Order. Such notification shall include a copy of

this Order; and

               8.1.3   cooperate with respect to all reasonable procedures sought to be

pursued by the Designating Party whose Protected Material may be affected.

         8.2   If the Designating Party timely seeks a protective order, the Party

served with the subpoena or court order shall not produce any Protected Material



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before a determination by the court from which the subpoena or order issued, unless

the Party has obtained the Designating Party’s permission. The Designating Party

shall bear the burden and expense of seeking protection of its Protected Material, and

nothing in these provisions should be construed as authorizing or encouraging a

Receiving Party in this Action to disobey a lawful directive from another court.

10.   A NON-PARTY’S PROTECTED                  MATERIAL        SOUGHT       TO     BE
      PRODUCED IN THIS ACTION


      9.1    The terms of this Order are applicable to Protected Material produced

by a Non-Party in this Action.      Such information produced by Non-Parties in

connection with this Action is protected by the remedies and relief provided by this

Order. Nothing in these provisions should be construed as prohibiting a Non-Party

from seeking additional protections.

11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

      10.1   If a Receiving Party learns that, by inadvertence or otherwise, it has

disclosed Protected Material to any person or in any circumstance not authorized

under this Order, the Receiving Party must immediately (a) notify in writing the

Designating Party of the unauthorized disclosures; (b) inform the person or persons

to whom unauthorized disclosures were made of all the terms of this Order; and (c)

make all reasonable efforts to retrieve all unauthorized copies of the Protected

Material.

12.   REDACTIONS ALLOWED

      11.1   Any Producing Party may redact from Discovery Material matter that

the Producing Party claims is Privileged Material. The Producing Party shall ensure


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that the redaction is obvious to the Receiving Party and specify the basis for the

redaction as appropriate. Where a document consists of more than one page, at least

each page on which information has been redacted shall be so marked. If counsel for

the Producing Party agrees or if the Court orders that Discovery Material initially

redacted shall not be subject to redaction or shall receive alternative treatment, and

the Discovery Material is subsequently produced in unredacted form, then that

unredacted Discovery Material shall continue to receive the protections and

treatment afforded to documents bearing the confidentiality designation assigned to

it by the Producing Party.

      11.2    The right to challenge and process for challenging the designation of

redactions shall be the same as the right to challenge and process for challenging the

designation of Confidential Information and Highly Confidential Information as set

forth in Section 6.

      11.3   Nothing herein precludes any Party from seeking the other Parties’

consent or an order allowing the Party to redact nonresponsive matter from otherwise

responsive documents on a case-by-case basis.

13.   MISCELLANEOUS

      12.1   Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the Court in the future. Any Party, entity, or person covered

by this Order may at any time apply to the Court for relief from any provision of this

Order. Subject to the agreement of the Parties or an order of the Court, other entities

or persons may be included in this Order by acceding to its provisions in a writing




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served upon counsel for the Parties, with such writings to be filed with the Court if

so directed.

      12.2     Right to Assert Other Objections. By stipulating to the entry of this

Order, no Party waives any right it otherwise would have to object to disclosing or

producing any information or item on any ground not addressed in this Order.

Similarly, no Party waives any right to object on any ground to use as evidence any

of the material covered by this Order.

      12.3     Filing Protected Material.    Without written permission from the

Designating Party or a court order secured after appropriate notice to all interested

persons, a Party may not file in the public record in this Action any Protected

Material. A Party that seeks to file under seal any Protected Material must do so

pursuant to the local rules.

      12.4     Hearings and Appeals

               13.4.1 In the event that a Receiving Party intends to utilize Protected

Material during a pre-trial hearing, such Receiving Party shall provide written notice

no less than three (3) calendar days prior to the hearing, to the Producing Party

and/or the Designating Party, except that shorter notice may be provided if the

Receiving Party could not reasonably anticipate the need to use the document at the

hearing three (3) calendar days in advance, in which event notice shall be given

immediately upon identification of that need. The use of such Protected Material

during the pre-trial hearing shall be determined by agreement of the relevant Parties

or by Order of the Court.




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             13.4.2 In the event that any Protected Material is used in any court

proceeding in this Action or any appeal in connection with this Action, except for the

use of Protected Material during trial, the manner of which shall be determined

pursuant to Section 3.2, such Protected Material shall not lose its protected status

through such use. Counsel shall comply with all applicable local rules and shall

confer on such procedures that are necessary to protect the confidentiality of any

documents, information, and transcripts used in the course of any court proceedings,

including petitioning the Court to close the courtroom.

      12.5   Reservations. Entering into, agreeing to or complying with the

provisions of this Order shall not: (1) operate as admission that any particular

material contains Protected Material; or (2) prejudice any right to seek a

determination by the Court (a) whether particular material should be produced, or

(b) if produced, whether such material should be subject to the provisions of this

Order.

14.   FINAL DISPOSITION

      13.1   Within ninety (90) calendar days after the final disposition of this

Action, as defined in Section 4, each Receiving Party, including its employees,

attorneys, consultants, and experts, must use commercially reasonable efforts to

destroy or return to the Producing Party all Protected Material, exception (1) backup

tapes or other disaster recovery systems that are routinely deleted or written over in

accordance with an established routine system maintenance practice, or (2)

documents that must be preserved as federal records or in compliance with other



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statutory, regulatory or legal authorities. As used in this Section, “all Protected

Material” includes all originals, copies, abstracts, compilations, summaries, and any

other format reproducing or capturing any of the Protected Material. Whether the

Protected Material is returned or destroyed, upon request of the Producing Party, the

Receiving Party must submit a written certification to the Producing Party (and, if

not the same person or entity, to the Designating Party) by the 90-day deadline that

(1) states that commercially reasonable efforts have been made to assure that all

Protected Material has been returned or destroyed, and (2) affirms that the Receiving

Party has not retained any originals, copies, abstracts, compilations, summaries, or

any other format reproducing or capturing any of the Protected Material.

Notwithstanding this provisions, Counsel are entitled to retain an archival copy of all

pleadings, motion papers, trial, deposition, and hearing transcripts, legal

memoranda, correspondence, deposition and trial exhibits, expert reports, attorney

work product (including all emails attaching or referring to Protected Materials), and

consultant and expert work product, even if such materials contain Protected

Material. Any such archival copies that contain or constituted Protected Material

remain subject to this Order as set forth in Section 4 (DURATION).


      IT IS SO ORDERED this 16th day of October 2020.



                                               _________________________________

                                               BRANTLEY STARR
                                               UNITED STATES DISTRICT JUDGE


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                                EXHIBIT 1 TO PROTECTIVE ORDER

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                        §
                                              §
v.                                            §         Case No. 3:19-cv-03016-X
                                              §
GRANT STINCHFIELD                             §

                        ACKNOWLEDGEMENT OF AND
                AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

         I, the undersigned, state that I have reviewed the Protective Order in this

matter and hereby agree to be bound by and comply with the terms of the Protective

Order. I submit to the jurisdiction of this Court for enforcement of the Protective

Order.

         SIGNED on this _____ day of _______________ 202___.




                                            Signature


                                            Typed or Printed Name




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